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                               EXHIBIT C
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    5                                      NOTE CHANGES MADE BY THE COURT
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    8
    9                       UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11                                WESTERN DIVISION
  12
  13 STARR INDEMNITY & LIABILITY                  Case No. 2:20-cv-10689-MCS (MAAx)
     COMPANY,
  14                                              [PROPOSED] ORDER GRANTING
                 Plaintiff,                       STIPULATION TO STAY ACTION
  15                                              AND DENYING AS MOOT
           vs.                                    MOTION TO STAY
  16
     COA, INC. DBA COASTER
  17 COMPANY OF AMERICA and DOES
     1 through 10,
  18
                 Defendants.
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                      [PROPOSED] ORDER GRANTING STIPULATION TO STAY ACTION
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    1        Pursuant to the Stipulation to Stay Action submitted by and between Plaintiff
    2 STARR INDEMNITY & LIABILITY COMPANY (“Starr”) and Defendant COA,
    3 INC. DBA COASTER COMPANY OF AMERICA (“Coaster”) (collectively the
    4 “Parties” and individually, “Party”), the Court hereby finds as follows:
    5        1.     The instant litigation involves an insurance coverage dispute brought
    6 by Starr against Coaster. Starr seeks declaratory judgment that that it has no duty to
    7 defend or indemnify Coaster in the underlying action against Coaster in Federal
    8 Court in Minnesota, styled FurnitureDealer.net, Inc. v. Amazon.com, Inc., et al.,
    9 United States District Court of Minnesota, Case No. 0:18-cv-00232 (JRT/FLN) (the
  10 “FurnitureDealer.net Action”) and seeks reimbursement of attorney’s fees and costs
  11 paid in connection with that defense.
  12         2.     The trial ready date in the FurnitureDealer.net Action is June 7, 2021.
  13         3.     District Courts have inherent powers to stay proceedings as set forth in
  14 Landis v. North American Co., 299 U.S. 248, 254 (1936).
  15         4.     Coaster alleges that the instant coverage litigation will turn, in part,
  16 upon facts to be litigated in the FurnitureDealer.net Action and has filed a Motion to
  17 Stay this Action (ECF No. 11). Notwithstanding that Starr contends that there are
  18 claims that can be litigated, Starr recognizes that this Court would likely stay some
  19 or all of the claims.
  20         5.     In order to avoid piecemeal litigation and potentially conflicting results,
  21 the Court finds good cause exists to stay the instant coverage litigation pending
  22 resolution of the FurnitureDealer.net Action. and hereby vacates the hearing on
  23 Coaster’s Motion to Stay (Dkt. 11) before this court on April 26, 2021 at 9:00 a.m.
  24 The Stipulation is granted. The Court takes off calendar the hearing on
  25 Coaster’s Motion to Stay (ECF No. 11) set for April 26, 2021, at 9:00 a.m., and
  26 denies the Motion to Stay as moot. The Court directs the Clerk to remove this
  27 case from the Court’s active caseload until further application by the parties or
  28 order of this Court.

                      [PROPOSED] ORDER GRANTING STIPULATION TO STAY ACTION
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    1        6.     The stay shall remain in effect until thirty (30) seven (7) days after
    2 entry of judgment or an order of dismissal in the FurnitureDealer.net Action;
    3 provided, however, that either Party may seek to terminate the stay upon thirty (30)
    4 days written notice delivered to the other Party’s Attorney of Record in this action
    5 and seek an order lifting the stay upon a showing of good cause. In addition, at any
    6 time, the Parties may jointly approach this Court for an Order lifting the stay or for
    7 an order continuing the stay, as the facts warrant. The parties shall notify the
    8 Court within seven (7) days of the conclusion of the FurnitureDealer.net
    9 Action.
  10         7.     Coaster shall have thirty (30) days from the date of an Order lifting the
  11 stay to respond to the Complaint.
  12
  13         IT IS SO ORDERED.
  14
  15 DATED: March 1, 2021
  16
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                                           By:
  18
                                                 Mark C. Scarsi
  19                                             United States District Judge
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                      [PROPOSED] ORDER GRANTING STIPULATION TO STAY ACTION
